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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   FREE SPEECH COALITION, INC., AYLO
   PREMIUM LTD, AYLO FREESITES LTD,
   WEBGROUP CZECH REPUBLIC, A.S.,
   NKL ASSOCIATES, S.R.O., SONESTA
   TECHNOLOGIES, S.R.O., SONESTA
   MEDIA, S.R.O., YELLOW PRODUCTION,
   S.R.O., PAPER STREET MEDIA, LLC,
   NEPTUNE MEDIA, LLC, MEDIAME SRL,
   MIDUS HOLDINGS, INC.,                          CASE NO. 1 :24-cv-980-RLY-MG

                 Plaintiffs,

          V.

   TODD ROKITA, in his official capacity as the
   Attorney General of the state of Indiana,

                 Defendant.




       REBUTTAL DECLARATION OF RICHARD L. SONNIER III IN SUPPORT OF
        PLAINTIFFS' MOTION FOR EXPEDITED PRELIMINARY INJUNCTION
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          I, Richard L. Sonnier III, declare as follows:

           1.     The Plaintiffs retained me in the above captioned matter to provide technical

   expertise in the areas of Internet technologies and operations, including age verification of users,

   content filtering, parental controls, family safe usage, the cost of implementing Internet

   technologies, the cost of operating Internet technologies, Internet privacy, Internet standards,

   cybersecurity, and Internet regulations. My rate for time spent preparing this declaration and for

   the testimony in this matter is $350 per hour. My compensation in no way depends on the

   outcome of this litigation or the testimony or opinions that I express. My qualifications as an

   expert witness can be found in Exhibit A of my initial declaration in this matter, which includes

   my CV and a list of my publications and previous testimony.

          2.      I reviewed Defendant's Opposition, including the Declarations of Peter J.

   Glogoza and Tony Allen supporting it.

          3.      Tony Allen opines that "many filtering tools collect data on browsing habits. This

   information can be mishandled or accessed by unauthorized parties. The privacy infringement

   concerns raised about age verification apply also to content filtering." There is no comparison

   between the security of highly confidential information like drivers' licenses—which, as

   discussed in my declaration, is a valuable target for hackers—and the parental monitoring of the

   browsing habits of their children, which does not contain personally identifiable information.



          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct to the best of my knowledge.



          Executed this 26th day of June 2024 in Houston, Texas.




                                                           RICHARD L SONNIER III




    Allen Declaration at ¶ 47.

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